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 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
11   MANFIELD PARTNERSHIP #2 LP,             CASE NO. 2:21-CV-07860
12                        Plaintiff,         COMPLAINT FOR:
13         v.                                 (1) COST RECOVERY PURSUANT
14   CAL PLATE, INC., a California                 TO CERCLA – 42 U.S.C. § 9607
     corporation, AND DOES 1 THROUGH               ET SEQ.
15   10, INCLUSIVE,                           (2) CONTRIBUTION PURSUANT
16                                                 CERCLA – 42 U.S.C. § 9613 ET
                          Defendant.
                                                   SEQ.
17                                            (3) CONTRIBUTION UNDER THE
18                                                 HAZARDOUS SUBSTANCE
                                                   ACCOUNT ACT, CALIFORNIA
19                                                 HEALTH & SAFETY CODE
20                                                 §25300 ET SEQ.
                                              (4) EQUITABLE CONTRIBUTION
21                                            (5) NEGLIGENCE
22                                            (6) PRIVATE NUISANCE
                                              (7) PUBLIC NUISANCE
23                                            (8) CONTINUING TRESPASS
24                                            (9) DECLARATORY RELIEF
                                              (10) DECLARATORY RELIEF
25                                                 UNDER CERCLA
26
                                             AND DEMAND FOR JURY TRIAL
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 1   Plaintiff alleges:
 2                                         PARTIES
 3          1.     Plaintiff Manfield Partnership #2 LP (“Manfield” and/or “Plaintiff”) is
 4   a limited partnership formed and existing under the laws of the State of California.
 5          2.     Defendant Cal Plate, Inc. (“Cal Plate” and/or “Defendant”) is a
 6   corporation organized and existing under the laws of the State of California.
 7          3.     The true names and capacities of the defendants sued herein as Does 1
 8   through 10, inclusive, are unknown to Plaintiff, which therefore sued defendants by
 9   fictitious names. Plaintiff will amend this Complaint to amend their true names and
10   capacities when ascertained. Plaintiff is informed and believes and thereon alleges
11   that each of said fictitiously named defendants is in some manner responsible, in
12   whole or in part, for the matters alleged herein.
13                              JURISDICTION AND VENUE
14          4.     This Court has subject matter jurisdiction pursuant to the
15   Comprehensive Environmental Response, Compensation and Liability Act
16   (“CERCLA”), 42 U.S.C. §§ 9613(b) and (f) and 42 U.S.C. § 9607; pursuant to the
17   Declaratory Judgment Act, 28 U.S.C. § 2201; and pursuant to 28 U.S.C. § 1331.
18          5.     This Court has jurisdiction over Plaintiff’s claims brought under state
19   law pursuant to 28 U.S.C. § 1367 and the pendent jurisdiction doctrine. Plaintiff’s
20   state law claims arise from the same nucleus of operative facts as the claims asserted
21   under federal law. See United Mine Workers v. Gibbs, 383 U.S. 715, 725 (1966).
22          6.     This action involves the property located at 17004 Alburtis Avenue,
23   Artesia, California (hereinafter, the “Property”).
24          7.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and 42
25   U.S.C. §§ 6972(a), 9607 and 9613(b) because the Property is located within this
26   District and because the acts that gave rise to Plaintiff’s claims occurred in this
27   District.
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 1                              GENERAL ALLEGATIONS
 2         8.     Manfield is the current owner of the Property, a property located at
 3   17004 Alburtis Avenue, Artesia, California, which is occupied by a commercial
 4   warehouse and a parking lot.
 5         9.     Manfield bought the Property in or about December 1990 and
 6   performed reasonable due diligence in purchasing the Property.
 7         10.    Manfield has never operated or occupied the Property, and at all times
 8   since its purchase of the Property, Manfield has been and remains today a passive
 9   owner of the Property.
10         11.    In or around 1980 until in or around 1994, Cal Plate leased the Property
11   and performed the following business operations at the Property:
12         (a)    Etching;
13         (b)    Polymer and metal casting;
14         (c)    Production of printing plates; and
15         (d)    Other industrial processes.
16         12.    During its tenure as a tenant and operator at the Property, Cal Plate
17   purchased, stored, used, and disposed of chlorinated volatile organic compounds
18   (“cVOCs”) including but not limited to the chlorinated solvents, tetrachloroethylene
19   (“PCE”) and/or trichloroethylene (“TCE”).
20         13.    Upon information and belief, Cal Plate stored various chemicals, such
21   as nitric acid and chlorinated solvents within the Property’s parking lot during its
22   lease and operation of the Property.
23         14.    Upon information and belief, Cal Plate used, stored, disposed of, and
24   spilled cVOCs onto the Property throughout its operations at the Property, including
25   but not limited to, upon the parking lot, within the building located on the Property,
26   and throughout the related wastewater conveyance system.
27         15.    On behalf of Manfield, Ramboll US Consulting, Inc. (“Ramboll”),
28   Manfield’s environmental consultant, has performed certain investigation activities
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 1   at and in the vicinity of the Property, including but not limited to soil, soil gas,
 2   groundwater and indoor air quality testing.
 3         16.      As a result of these investigations, a historical release or releases of
 4   cVOCs, including PCE, was discovered at the Property (collectively, the
 5   “Releases”).
 6         17.      Results from the initial investigation demonstrate that soil and soil gas
 7   at the Property are impacted with cVOCs and groundwater at and emanating from
 8   the Property has been impacted with cVOCs with concentrations of PCE and TCE
 9   above the State of California’s Maximum Contaminant Levels (“MCLs”) for
10   drinking water.
11         18.      Manfield subsequently notified the Regional Water Quality Board (the
12   “Regional Board”) of the Releases and, on or about May 15, 2018, the Regional
13   Board issued a Site Cleanup Program Oversight Cost Reimbursement Account letter
14   to Manfield stating, in part, that: the Regional Board is the public agency with
15   primary responsibility for the protection of the ground and surface water quality for
16   the Property; the Release had degraded the groundwater quality and beneficial uses
17   of the State’s waters; and Section 13304 of the California Water Code (Porter
18   Cologne Act) allows the Regional Board to recover reasonable expenses for
19   overseeing the investigation and cleanup of the unregulated discharges adversely
20   affecting the State’s waters.
21         19.      In or about June 2018, Manfield executed an Acknowledgment of
22   Receipt of Cost Reimbursement Account Letter with the Regional Board.
23         20.      As a direct result of the Releases, Ramboll, on behalf of Manfield, has
24   performed extensive Environmental Investigation work reported to and/or at the
25   request and under the oversight of the Regional Board, including but not limited to
26   soil, soil gas, groundwater and indoor air quality testing at and in the vicinity of the
27   Property (collectively, “Environmental Investigation”).
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 1         21.     The results of the Environmental Investigation indicate the Releases are
 2   sourced from Cal Plate’s historical operations, including but not limited to the
 3   storage, use, disposal, and spilling of cVOCs.
 4         22.     Upon information and belief, Cal Plate, at various times from the 1980s
 5   until in or around 1994, intentionally, negligently, and accidentally caused the
 6   cVOCs in the environment, including soil, land, vapor, groundwater, and the waters
 7   of the state of California, at the Property. The Regional Board agrees with this
 8   conclusion.
 9         23.     On or about July 14, 2020, the Regional Board issued a Draft Cleanup
10   and Abatement Order to Cal Plate (“Cleanup Order”). The Cleanup Order ordered
11   Cal Plate, as the historical operator responsible for the Releases, and Manfield, as
12   the Property owner, to:
13         (a)     Develop and update a Site Conceptual Model, which would include a
14                 written presentation with graphical illustrations of the discharge
15                 scenario, geology and hydrogeology, waste fate and transport in the soil
16                 matrix, soil vapor and groundwater, distribution of wastes (including
17                 geologic cross sections and iso-concentration contour maps), exposure
18                 pathways, sensitive receptors and other relevant information.
19         (b)     Completely delineate the extent of wastes in the soil matrix, soil vapor,
20                 and groundwater caused by the discharge of volatile organic
21                 compounds and any other constituents of concern from the Property.
22         (c)     Develop and implement vapor mitigation measures, which may include
23                 indoor air confirmation sampling, if the Regional Board so required.
24         (d)     Conduct interim remedial action, prior to complete delineation of the
25                 subsurface impact, to reduce waste concentrations in highly impacted
26                 areas.
27         (e)     Conduct remedial action, including developing and submitting a
28                 comprehensive Remedial Action Plan (“RAP”) for soil matrix, soil
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 1                vapor and groundwater contamination originating from the Property to
 2                the Regional Board for review and approval, implementing the RAP,
 3                and submitting quarterly remediation progress reports to the Regional
 4                Board.
 5         (f)    Conduct a human health risk assessment using concentrations of
 6                chemicals in the soil matrix, soil vapor and groundwater at the
 7                Property.
 8         (g)    Submit information and take action addressing public participation
 9                requirements of California Water Code sections 13307.5 and 13307.6,
10                including a baseline community assessment, an interested persons
11                contact list, and a draft fact sheet.
12         (h)    Conduct groundwater monitoring to track changes in concentration of
13                wastes originating from the Property.
14         24.    The Regional Board’s investigation into the relevant facts and data, as
15   set forth in the Cleanup Order, concludes that records show that Cal Plate used PCE
16   during the production of printing plates and stored various chemical solvents at the
17   Property. The Cleanup Order further states that no records indicate that other
18   historical business operators besides Cal Plate used and/or stored PCE or TCE at the
19   Property and finds Cal Plate caused or permitted waste to be discharged or deposited
20   into the waters of the State.
21         25.    As of the date of this Complaint, Cal Plate has refused to accept
22   responsibility for the Releases and has objected to the Cleanup Order.
23         26.    Despite Cal Plate’s continued refusal to cleanup its Releases at the
24   Property and recalcitrant position against the Regional Board, Manfield, through its
25   consultant, Ramboll, and in compliance with the Regional Board’s oversight and
26   request, installed an interim remediation system at the Property in the form of a Soil
27   Vapor Extraction System (“SVE”). The SVE system is intended to (i) reduce
28   concentrations of cVOCs in the source area, (ii) minimize the potential for vapor
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 1   intrusion in the existing building at the neighboring property to the east of the
 2   Property, and (iii) minimize further migration of cVOCs in the subsurface both
 3   vertically and laterally.
 4         27.    As of the date of this Complaint, Manfield continues to cooperate with
 5   the Regional Board, including but not limited to, performing additional, ongoing
 6   Environmental Investigation at the Property and operating the SVE.
 7         28.    Should Cal Plate continue to shirk its responsibility for the Releases,
 8   Manfield will continue to incur response costs, including additional investigation
 9   and remediation costs, associated with the cVOCs in the soil and groundwater at and
10   emanating from the Property.
11         29.    Upon information and belief, once the Releases were discharged or
12   released into the environment, the cVOCs continued to spread and migrate within
13   the environment at and emanating from the Property.
14         30.    Since the Releases were discovered and subsequently reported to the
15   Regional Board, Manfield has been the sole party responding to, complying with,
16   and performing the investigation and remediation work at the request of the
17   Regional Board.
18         31.    As of the date of this Complaint, Cal Plate refuses to take responsibility
19   for the Releases it caused and the resulting contamination, which has caused
20   significant damage and harm to Manfield.
21                               FIRST CAUSE OF ACTION
22                    (Response Cost Recovery Under CERCLA § 107)
23         32.    Paragraphs 1 through 31 are realleged and incorporated herein by
24   reference.
25         33.    Section 107(a) of CERCLA, 42 U.S.C. § 9607(a), provides:
26                (1) the owner and operator of a vessel or a facility,
27                (2) any person who at the time of disposal of any
28                hazardous substance owned or operated any facility at
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 1               which such hazardous substances were disposed of,
 2               (3) any person who . . . arranged for disposal or
 3               treatment, . . . of hazardous substances . . . at any facility
 4               ...
 5               (4) . . . from which there is a release, or a threatened
 6               release which causes the incurrence of response costs, of
 7               a hazardous substance, shall be liable for –
 8               (B) any other necessary costs of response incurred by any
 9               other person consistent with the national contingency
10               plan;
11               ...
12               (D) the costs of any health assessment or health effects
13               study carried out under section 9604(i) of this title.
14               The amounts recoverable in an action under this section
15               shall include interest on the amounts recoverable under
16               subparagraphs (A) through (D). . . .
17         34.   Defendant is a “person” as defined by Section 101(21) of CERCLA, 42
18   U.S.C. § 9601(21).
19         35.   Does 1-10 are “persons” as defined by Section 101(21) of CERCLA,
20   42 U.S.C. § 9601(21).
21         36.   The Property is a “facility” within the meaning of Section 101(9) of
22   CERCLA, 42 U.S.C. § 9601(9).
23         37.   Defendant was an operated of the Property at the time cVOCs and other
24   hazardous substances were released or disposed of at the Property and is therefore
25   liable for the Releases at the Property, including releases of PCE and/or TCE.
26         38.   Does 1-10 are persons liable under CERCLA § 107(a), 42 U.S.C. §
27   9706(a).
28         39.   Manfield has incurred and will incur necessary costs of response and
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 1   health assessments pursuant to Section 107(a) of CERCLA, 42 U.S.C. § 9607(a),
 2   consistent with the National Contingency Plan (“NCP”) as a result of releases and
 3   threatened releases (within the meaning of Section 101(22) of CERCLA, 42 U.S.C.
 4   § 9601(22)) of hazardous substances at and from the Property.
 5         40.    Defendant and Does 1-10 are responsible persons as defined in
 6   CERCLA § 107(a)(1), (2), (3), and/or (4), 42 U.S.C. § 9607(a)(1-4). Defendant and
 7   Does 1-10 are liable for all response costs incurred or to be incurred by Manfield.
 8   Alternatively, under 42 U.S.C. § 9607, Defendant is liable in contribution for
 9   Manfield’s costs and expenses incurred in responding to past, present or future
10   releases and/or pollution.
11         41.    The costs of response incurred by Manfield in connection with the
12   Releases have been necessary and incurred in a manner consistent with the National
13   Contingency Plan, 40 C.F.R. Part 300 (“NCP”).
14         42.    Manfield has given or will give written notice of this action to the
15   Attorney General of the United States and the Administrator of the United States
16   Environmental Protection Agency pursuant to section 113(l) of CERCLA, 42 U.S.C.
17   § 9613(l).
18         43.    WHEREFORE, Manfield prays for judgment as hereinafter set forth.
19                                SECOND CAUSE OF ACTION
20                      (Contribution Pursuant to CERCLA § 113)
21         44.    Paragraphs 1 through 43 are realleged and incorporated herein by
22   reference.
23         45.    At all relevant times, Manfield was a passive owner of the Property and
24   has never operated any commercial or industrial business at the Property.
25         46.    Defendant is a liable or potentially liable party for contamination at the
26   Property under Section 107(a) of CERCLA, 42 U.S.C. § 9607(a).
27         47.    Does 1-10 are liable or potentially liable parties for contamination at
28   the Property under Section 107(a) of CERCLA, 42 U.S.C. § 9607(a).
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 1         48.    The costs of response incurred by Manfield in connection with the
 2   Releases have been necessary and incurred in a manner consistent with the NCP.
 3         49.    Pursuant to Section 113(f) of CERCLA, 42 U.S.C. § 9613(f), Manfield
 4   is entitled to contribution from Defendant and Does 1-10 for the costs and damages
 5   associated with contamination response activities at the Property.
 6         50.    WHEREFORE, Manfield prays for judgment as hereinafter set forth.
 7                             THIRD CAUSE OF ACTION
 8     (Contribution and Indemnity Pursuant to California Hazardous Substances
 9                                      Account Act)
10         51.    Paragraphs 1 through 50 are realleged and incorporated herein by
11   reference.
12         52.    The California Hazardous Substance Account Act (“HSAA”), Calif.
13   Health & Safety Code section 25300 et seq. provides for an action by parties who
14   have incurred removal or remediation costs under the HSAA. Pursuant to the
15   HSAA, such parties may seek contribution or indemnity for those costs from any
16   person who is a liable person within the meaning of Health & Safety Code section
17   25323.5.
18         53.    Defendant is a person who is liable under such sections within the
19   meaning of Section 25323.5 of the California Health & Safety Code.
20         54.    Does 1-10 are persons who are liable under such sections within the
21   meaning of Section 25323.5 of the California Health & Safety Code.
22         55.    The Property is a “site” pursuant to California Health & Safety Code §
23   25323.9 because it is a “facility” pursuant to CERCLA § 101(9), 42 U.S.C. §
24   9601(9).
25         56.    Manfield has incurred and will continue to incur necessary response
26   costs with respect to the Releases and/or pollution caused by Defendant.
27         57.    Manfield is informed and believes, and on that basis alleges, that the
28   response actions undertaken by Manfield have been or will be pursuant to federal
                                               10
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 1   and state authorization and approval under CERCLA and are or will be consistent
 2   with the NCP.
 3         58.    Manfield has satisfied any and all conditions precedent under
 4   California law or otherwise to the undertaking of response actions and incurring of
 5   response costs related to the Property and the recovery of such costs from
 6   Defendant.
 7         59.    Pursuant to California Health & Safety Code section 25363(d),
 8   Manfield is entitled to indemnification and contribution from Defendant and Does
 9   1-10 for all past and future response costs incurred by Manfield as a result of the
10   releases of hazardous substances at, under, or from the Property, together with
11   interest thereon, at the maximum rate allowed by law.
12         60.    Manfield has given or will give written notice of this action to the
13   Director of the Department of Toxic Substances Control pursuant to California
14   Health & Safety Code section 25363(d).
15         61.    WHEREFORE, Manfield prays for judgment as hereinafter set forth.
16                             FOURTH CAUSE OF ACTION
17                                 (Equitable Contribution)
18         62.    Paragraphs 1 through 61 are realleged and incorporated herein by
19   reference.
20         63.    As a direct and proximate result of the releases or threatened Releases
21   of hazardous substances, including cVOCs, as alleged above, Manfield has incurred
22   and will incur response costs, beyond its share, if any, for investigation,
23   remediation, clean-up and abatement of the contamination.
24         64.    Manfield is informed and believes and on that basis alleges that the
25   conduct of Defendant was the proximate cause of the damages Manfield has and
26   will incur as a result of the Releases, which are the subject of the Regional Board’s
27   draft Cleanup Order.
28         65.    Section 1432 of the California Civil Code states that “a party to a joint,
                                                11
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 1   or joint and several obligation, who satisfies more than his share of the claim against
 2   all, may require a proportionate contribution from all the parties joined with him.”
 3            66.   Under California Civil Code Section 1432 and under general principles
 4   of equity, Manfield is entitled to contribution from Defendant for its share of the
 5   response costs incurred and to be incurred by Manfield.
 6                                FIFTH CAUSE OF ACTION
 7                                         (Negligence)
 8            67.   Paragraphs 1 through 66 are realleged and incorporated herein by
 9   reference.
10            68.   At all times referred to or mentioned herein, it was reasonably
11   foreseeable that the Property would be polluted and contaminated, and would be
12   significantly adversely impacted by releases at and from the Property, of a
13   “hazardous substance” within the meaning of that term as defined in section 101(14)
14   of CERCLA, 42 U.S.C. §9601(14).
15            69.   At all times referred to or mentioned herein, Defendants owed and
16   continue to owe Manfield a duty to exercise due care in its historical occupation,
17   utilization, operation and maintenance of the Property so as to avoid and prevent the
18   release of hazardous substances, including cVOCs, onto and into the soil,
19   groundwater, and air at or near the Property, and so that the hazardous substances
20   present on the Property could not, did not and do not contaminate the soil or air, at
21   or near the Property or the groundwater underlying the Property and other nearby
22   areas.
23            70.   Defendants knew or in the exercise of reasonable care should have
24   known that the handling of various hazardous substances, including cVOCs, at the
25   Property was subject to and regulated by federal and state statutes and/or local laws
26   including, but not limited to, the following:
27            (a)   CERCLA, 42 U.S.C. § 9601 et seq.;
28            (b)   California Health and Safety Code § 25100 et seq.; and
                                                 12
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 1         (c)    California Water Code § 13300 et seq.
 2         71.    Defendants failed to exercise due or ordinary care and was negligent in
 3   (1) the handling of hazardous substances on the Property; (2) the efforts to locate
 4   and remove hazardous substances from the Property; (3) the storage of hazardous
 5   substances at the Property; and (4) the management and supervision of the activities
 6   and operations on the Property.
 7         72.    Defendant’s use and release of hazardous substances at and from the
 8   Property violates one or more of the statutes of the type identified above and
 9   negligence under the common law. Pollution of the soil, sediment, and groundwater
10   on or near the Property occurred as a proximate result of the conduct comprising
11   each statutory violation. These statutes were designed to prevent such damage, and
12   each statute was designed to protect parties such as Manfield from such damage.
13         73.    The failure of Defendants to exercise due and ordinary care with
14   respect to the activities and matters set forth above, resulted in substantial damage to
15   Manfield by polluting and contaminating the soil, air, and/or groundwater at and
16   near the Property. These injuries are continuing.
17         74.    As a proximate result of said negligent conduct, negligent action, and
18   negligent omissions of Defendants, Manfield has incurred and will continue to incur
19   substantial damages proximately caused by the pollution and pollution of the soil,
20   and air at or near the Property, and/or the groundwater underlying the Property and
21   other nearby lands. Manfield is informed and believes, and on that basis alleges, that
22   the pollution caused by Defendant, and each of them, has also contaminated the soil,
23   air, and/or groundwater at or near the Property.
24         75.    WHEREFORE, Manfield prays for judgment as hereinafter set forth.
25                              SIXTH CAUSE OF ACTION
26                              (Continuing Private Nuisance)
27         76.    Paragraphs 1 through 75 are realleged and incorporated herein by
28   reference.
                                                13
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 1         77.      California Civil Code § 3479 defines a nuisance as follows:
 2                  Anything that is injurious to health, or is indecent or
                    offensive to the senses, or an obstruction to the free use
 3
                    of property, so as to interfere with the comfortable
 4                  enjoyment of life or property ... is a nuisance.
 5         78.      The nuisance created by Defendants is of a continuing nature.
 6         79.      During its activities at the Property, Defendant created, and allowed to
 7   continue, conditions which constitute a private nuisance by causing and permitting
 8   the release of hazardous substances, including cVOCs, at and from the Property.
 9         80.      By intentionally and/or negligently causing a nuisance by
10   contaminating the soil, soil gas, and groundwater at or near the Property, Defendants
11   actions have injured Manfield.
12         81.      This nuisance has substantially interfered with Manfield’s use and
13   enjoyment of the property, and has created a risk to human health and the
14   environment.
15         82.      Because of the continuous nature of the migration of the contamination,
16   Defendants' activities have resulted in a continuing nuisance upon the Property that
17   is abatable.
18         83.      Despite demands from Manfield and the Regional Board, Defendant
19   has refused or otherwise failed to abate this nuisance.
20         84.      Manfield has incurred and will continue to incur substantial damages
21   because of the nuisance.
22         85.      The nuisance created by Defendants can be reasonably abated with
23   existing technology. Defendants can and should use this technology to abate the
24   nuisance.
25         86.      WHEREFORE, Manfield prays for judgment as hereinafter set forth.
26                              SEVENTH CAUSE OF ACTION
27                                (Continuing Public Nuisance)
28         87.      Paragraphs 1 through 86 are realleged and incorporated herein by
                                                  14
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 1   reference.
 2             88.   The nuisance described above threatens to affect the community in and
 3   around the Property and impacts the groundwater and soil in the area.
 4             89.   Manfield is informed and believes, and thereon alleges, that the
 5   pollution caused by Defendants can migrate to other land and water subject to use
 6   and actually being used by third parties.
 7             90.   Manfield is informed and believes, and on that basis alleges, that the
 8   pollution caused by Defendants has been and is continuing to be released to the soil
 9   and groundwater at or near the Property so as to affect members of the general
10   public.
11             91.   Abatement of the pollution caused by Defendants will prevent the
12   pollution from affecting the Property, and adjacent land and/or groundwater being
13   used by third parties and/or the general public.
14             92.   Manfield has incurred and continue to incur special injuries and costs
15   as a direct and proximate result of this public nuisance, injuries which the general
16   public has not suffered.
17             93.   The public nuisance created by Defendants can be reasonably abated
18   with existing technology. Defendants can and should use this technology to abate
19   the nuisance.
20             94.   As the direct and proximate result of the public nuisance caused by
21   Defendants, Manfield has been damaged, and in accordance with California Code of
22   Civil Procedure section 731, Manfield is entitled to damages as well as injunctive
23   relief.
24             95.   Manfield requests an injunction to require Defendant to remediate the
25   contaminated soil, and groundwater below and near the Property and abate any
26   continuing pollution of the environment by the Property.
27   //
28   //
                                                  15
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 1                             EIGHTH CAUSE OF ACTION
 2                                  (Continuing Trespass)
 3         96.    Paragraphs 1 through 95 are realleged and incorporated herein by
 4   reference.
 5         97.    As a direct and proximate result of the acts or omissions of Defendants,
 6   the Property has been physically and tortiously invaded by the release of
 7   contaminants, including cVOCs.
 8         98.    The intentional, reckless and/or negligent use and handling by
 9   Defendants, and each of them, of the contaminants, including cVOCs, has
10   proximately caused the unauthorized and wrongful deposit of contaminants,
11   including cVOCs, at, under, or from the Property, which continue to be present and
12   which constitute a continuing trespass on the Property.
13         99.    The contamination caused by Defendants’ continuing trespass is
14   reasonably abatable. However, despite being asked to abate and remediate its
15   contamination, Cal Plate has refused to do so.
16         100. The presence of the cVOCs, which have resulted from the acts or
17   omissions of Defendants, continues to contaminate and damage the Property.
18         101. As a direct and proximate result of the continuing trespass by
19   Defendants, Manfield has been damaged in an amount to be proven at trial.
20         102. Manfield’s damages include, but are not limited to, past costs
21   reasonably incurred and future costs to be incurred to restore the Property to its
22   original condition together with damages for any lost use incurred by Plaintiff
23   during the time of the continuing wrongful trespass.
24                              NINTH CAUSE OF ACTION
25                                   (Declaratory Relief)
26         103. Paragraphs 1 through 102 are realleged and incorporated herein by
27   reference.
28         104. An actual controversy now exists between Manfield and Defendants, in
                                                16
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 1   that Manfield contends that Defendants are liable under CERCLA, the HSAA, and
 2   the state and common law claims alleged in this Complaint, for defense costs and
 3   response costs incurred and to be incurred in connection with the release or
 4   threatened release of hazardous substances at and from the Property. Manfield
 5   further contends that Defendants are obligated to reimburse Manfield for its past,
 6   current and future defense and response costs and other damages.
 7         105. Manfield is informed and believes, and on that basis alleges, that
 8   Defendant contends in all respects to the contrary.
 9         106. Pursuant to 28 U.S.C. §§ 2201 and 2202, Manfield desires and is
10   entitled to a declaration of the parties’ respective rights and duties, including a
11   declaration that Defendants are responsible for investigating, remediating, and
12   mitigating the contamination at, under, or from the Property. No adequate or speedy
13   remedy exists for Manfield in the absence of such a judicial declaration.
14   Accordingly, Manfield requests a declaration from the Court setting forth
15   Defendants’ liability for all costs and/or damages resulting from the contamination
16   at, under, or from the Property.
17         107. A declaration of the rights and obligations of the parties, binding in any
18   subsequent action or actions to recover further defense costs and response costs
19   incurred by Manfield, is appropriate and in the interest of justice. A declaratory
20   judgment is proper because it will obviate the need for multiple suits and provide a
21   complete determination of the rights and obligations of the parties.
22                              TENTH CAUSE OF ACTION
23                          (Declaratory Relief Under CERCLA)
24         108. Paragraphs 1 through 107 are realleged and incorporated herein by
25   reference.
26         109. An actual controversy now exists between Manfield and Defendants, in
27   that Manfield contends that Defendants are liable under CERCLA, the HSAA, and
28   the state and common law claims alleged in this Complaint, for defense costs and
                                                 17
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 1   response costs incurred and to be incurred in connection with the release or
 2   threatened release of hazardous substances at and from the Property. Manfield
 3   further contends that Defendants are obligated to reimburse Manfield for its past,
 4   current and future defense and response costs and other damages.
 5         110. Manfield is informed and believes, and on that basis alleges, that
 6   Defendant contends in all respects to the contrary.
 7         111. Section 113(g)(2)CERCLA, 42 U.S.C. §9613(g)(2), provides in
 8   pertinent part:
 9                In any such action described in this subsection the court
                  shall enter a declaratory judgment on liability for
10
                  response costs or damages that will be binding on any
11                subsequent action or actions to recover further response
                  costs or damages.
12
13         112. Pursuant to section 113(g)(2) of CERCLA, 42 U.S.C. § 9613(g)(2), and
14   28 U.S.C. §§ 2201 and 2202, this Court has jurisdiction to award declaratory relief.
15   Manfield requests a judicial determination of its rights, and the duties and obligation
16   of Defendants, with respect to the alleged release and/or threatened release of
17   hazardous substances at the Property. Manfield further requests that the Court apply
18   all equitable factors and principles in determining the fault and liability of each
19   party in making an allocation and apportionment for contributions by, between and
20   among the parties.
21         113. WHEREFORE, Manfield prays for judgment as hereinafter set forth.
22                                 PRAYER FOR RELIEF
23         WHEREFORE, Manfield prays as follows:
24         1.     For recovery from Defendants of costs which Manfield has incurred or
25   will incur in responding to Releases of hazardous substances, including cVOCs, at
26   the Property, including without limitation, the costs of investigation, clean-up,
27   removal of contaminated soils, soil gas and groundwater, and completing any
28   additional investigation, monitoring and remediation at the Property in amounts to
                                                18
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 1   be determined at the trial of this matter;
 2         2.     For contribution toward any costs which Manfield has incurred or will
 3   incur in responding to the Releases of hazardous substances, including cVOCs, at
 4   the Property, including without limitation, the costs of investigation, clean-up,
 5   removal of contaminated soils, soil gas and groundwater, and completing any
 6   additional investigation, monitoring and remediation at the Property in amounts to
 7   be determined at the trial of this matter;
 8         3.     For indemnification and/or contribution in full or in part to any costs,
 9   damages and liabilities arising from the alleged contamination of the Property which
10   Manfield has incurred or will incur in responding to the Releases of hazardous
11   substances, including cVOCs, at the Property including without limitation, the costs
12   of defense, investigation, clean-up, removal of contaminated soils, soil gas and
13   groundwater, and completing any additional investigation, monitoring, and
14   remediation at the Property in amounts to be determined at the trial of this matter;
15         4.     For a declaration determining of the rights of Manfield, and the duties
16   and obligations of Defendants, and all others, with respect to defense of the draft
17   Cleanup Order and to the releases and/or threatened Releases of hazardous
18   substances, including cVOCs, at the Property and the alleged damages resulting
19   therefrom;
20         5.     For a declaration that Defendants are obligated to defend and
21   indemnify and hold Plaintiff harmless from and against any and all claims arising
22   out of the alleged contamination at the Property;
23         6.     For any and all remedies authorized under CERCLA, 42 U.S.C. § 9607,
24   et seq.; CERCLA, 42 U.S.C. § 9613, et seq.; and California Health and Safety Code
25   § 25300, et seq.;
26         7.     For actual damages resulting from the Releases at, on, under and
27   emanating from the Property including, without limitation, diminution in property
28   value, loss of use, business interruption, lost rent, and other monetary damages.
                                                  19
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 1          8.        For attorneys’ fees and costs of suit herein incurred as permitted by
 2   California Code of Civil Procedure Section 1021.5, or as otherwise provided by law;
 3          9.        For prejudgment interest at the maximum rate permitted by law; and
 4          10.       For such other and further relief as the Court deems just and proper.
 5                                        JURY DEMAND
 6          Manfield hereby demands a trial by jury of all issues triable by jury.
 7
 8
 9
      Dated: October 1, 2021              DLA PIPER LLP (US)
10
11
                                          By:
12
                                                ADAM P. BAAS
13                                              ELIZABETH C. CALLAHAN

14                                              Attorneys for Plaintiff
                                                MANFIELD PARTNERSHIP #2 LP
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